
PER CURIAM:
This c laim w as s ubmitted f or de cisión b ased u pon t he allegations in t he Notice of Claim and respondent's Answer.
Claimant, Cabell County Commission, is responsible for the incarceration of prisoners who have committed crimes in Cabell County, but have been sentenced to facilities o wned and maintained by respndent, Division of Corrections. Claimant brought this action to recover $66,550.00 in costs for providing housing and/or medical care to prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the county, these prisoners have had to remain in the custody of the county for periods of time beyond the date of the commitment order.
The Court previously determined in County Comm'n. of Mineral County vs. Div. of Corrections, 18 Ct. Cl. 88 (1990), that respondent is liable to claimant for the cost of housing and providing medical care to inmates sentenced to a State penal institution.
Pursuant to the holding in Mineral County, respondent reviewed this claim to determine the invoices for the services for which it may be liable. Respondent then filed an Answer admitting the validity of the claim in the amount of $66,550.00.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $66,550.00.
*225Award of $66,550.00.
